        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 1 of 16



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 DONALD J. TRUMP,

                          Plaintiff,

                v.
                                                       Case No. 1:19-cv-02173
 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,

                           Defendants.


   RESPONSE OF THE COMMITTEE ON WAYS AND MEANS OF THE UNITED
   STATES HOUSE OF REPRESENTATIVES IN OPPOSITION TO PLAINTIFF’S
 MOTION FOR EMERGENCY EQUITABLE RELIEF UNDER THE ALL WRITS ACT


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                                            Representatives
July 25, 2019
            Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 2 of 16



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           Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 5 of 16



                                            INTRODUCTION

       The Committee on Ways and Means of the United States House of Representatives

(Ways and Means Committee) submits this response in opposition to President Donald J.

Trump’s Emergency Application for Relief Under the All Writs Act.1 Mr. Trump’s complaint

and his emergency application brazenly request that this Court violate the separation of powers

and enjoin the Ways and Means Committee from even embarking on legislative activity squarely

within its Article I powers. The Supreme Court has repeatedly made clear that courts lack the

power to do what Mr. Trump asks. As the Court has stressed, the Speech or Debate Clause, U.S.

Const., Art. I, § 6, cl. 1, is an “absolute bar to interference” by the Judiciary with any

Congressional activity within the “legislative sphere.” Eastland v. U.S. Servicemen’s Fund, 421

U.S. 491, 503 (1975); United States v. Helstoski, 442 U.S. 477, 491 (1979) (“This Court has

reiterated the central importance of the Clause for preventing intrusion by [the] Executive and

Judiciary into the legislative sphere.”).

       The Ways and Means Committee’s decision whether to avail itself of a newly enacted

provision of the New York tax code is a legislative act absolutely immune from challenge

through the court system. This Court thus lacks jurisdiction to grant the relief requested by Mr.

Trump. Mr. Trump’s invocation of the All Writs Act has no effect on this analysis. The All

Writs Act authorizes federal courts to grant writs necessary “in aid of their respective

jurisdictions.” 28 U.S.C. § 1651. But this Court is barred by the Constitution from enjoining the

Ways and Means Committee’s legislative decisionmaking—the All Writs Act does not authorize

relief where, as here, the Court has no jurisdiction to protect.



       1
         Plaintiff is Donald J. Trump in his individual (not official) capacity. Accordingly, this
brief generally refers to plaintiff as Mr. Trump.
           Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 6 of 16



       Accordingly, this Court should expeditiously deny Mr. Trump’s jurisdictionally defective

and meritless application and dismiss the Ways and Means Committee from this case. See

Eastland, 421 U.S. at 511 (cautioning against “the harm that judicial interference may cause” by

enjoining a Congressional subpoena for years during litigation).

                                        BACKGROUND

       Article I of the Constitution vests Congress with “[a]ll legislative Powers.” U.S. Const.,

Art. I, § 1. These powers include the authority to inquire into matters relating to subjects within

Congress’s broad legislative purview and to conduct oversight of Executive Branch

agencies. See, e.g., McGrain v. Daugherty, 273 U.S. 135, 174 (1927). The Ways and Means

Committee is a standing committee of the United States House of Representatives charged with,

among other responsibilities, legislating and conducting oversight of the U.S. Department of the

Treasury, the Internal Revenue Service, and the administration of our Nation’s tax laws. See

Rule X.1(t), X.2, Rules of the U.S. House of Representatives (116th Cong.).2

       On July 8, 2019, the Governor of New York signed into law an amendment to the State

tax code permitting each of the Chairs of Congress’s three tax committees—the Ways and Means

Committee, the Senate Committee on Finance, and the Joint Committee on Taxation—to request

in writing state tax return information of the President, the Vice President, any member of

Congress representing New York state, certain Executive Branch employees and officers, and

certain New York state officials and judges. See NY Tax Code § 697(f-1), (f-2) (2019).3 This

amendment further states that, provided certain requirements are met, the Commissioner of the

New York State Department of Taxation and Finance “shall furnish” the requested tax



       2
           Available at https://tinyurl.com/116thHouseRules.
       3
           Available at https://tinyurl.com/NYTRUSTAct.

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         Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 7 of 16



information to the requesting Committee. Id. The newly adopted amendment contains no

requirement that notice be provided to the taxpayer whose records are subject to such a

Congressional inquiry. Id.

       On July 23, 2019, Mr. Trump filed this suit raising a First Amendment challenge to the

New York law and seeking declaratory and injunctive relief against the Ways and Means

Committee, the New York State Attorney General, Letitia James, and the Commissioner of the

New York State Department of Taxation and Finance, Michael R. Schmidt. ECF No. 1

(Compl.). Mr. Trump alleges, among other claims, that Ways and Means Committee Chairman

Richard Neal “could decide to request the President’s state returns.” Compl. ¶ 7.

                                          ARGUMENT

THE SPEECH OR DEBATE CLAUSE PRECLUDES MR. TRUMP’S APPLICATION FOR EMERGENCY
          RELIEF AND HIS SUIT AGAINST THE WAYS AND MEANS COMMITTEE

       This Court lacks jurisdiction to grant Mr. Trump the relief he seeks against the Ways and

Means Committee. The Committee’s decision whether and how to exercise its power of inquiry

is a legislative act absolutely protected against challenge in litigation by the Speech or Debate

Clause. That Mr. Trump seeks relief pursuant to the All Writs Act does not allow an evasion of

this fundamental constitutional principle. This Court is authorized to issue writs “in aid” of its

jurisdiction. 28 U.S.C. § 1651. But where—as is the case here—the Court does not, and never

will have, jurisdiction to enjoin the Ways and Means Committee’s decisionmaking process, it

has no authority to issue such a writ.

       1. The Supreme Court’s decision in Eastland v. U. S. Servicemen’s Fund, 421 U.S. 491

(1975), establishes that the Speech or Debate Clause bars Mr. Trump’s claim against the Ways

and Means Committee. Eastland presented the question whether “a federal court may enjoin the

issuance by Congress of a subpoena duces tecum that directs a bank to produce the bank records


                                                 3
         Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 8 of 16



of an organization which claims a First Amendment privilege status for those records.” Id. at

492-93. The Supreme Court held that “the actions of the Senate Subcommittee, the individual

Senators, and the Chief Counsel” in issuing the subpoena “are protected by the Speech or Debate

Clause of the Constitution, Art. I, § 6, cl. 1, and are therefore immune from judicial

interference.” Id. at 501. Eastland thus makes clear that this Court lacks jurisdiction not only

over the Committee but also over individual Members. Mr. Trump, therefore, cannot amend his

complaint to add Chairman Neal.

       The Supreme Court in Eastland explained that “[t]he purpose of the [Speech or Debate]

Clause is to insure that the legislative function the Constitution allocates to Congress may be

performed independently …. [T]he ‘central role’ of the Clause is to ‘prevent intimidation of

legislators by the Executive and accountability before a possibly hostile judiciary.’” Eastland,

421 U.S. at 502 (quoting Gravel v. United States, 408 U.S. 606, 617 (1972)); see also United

States v. Helstoski, 442 U.S. 477, 491 (1979) (“This Court has reiterated the central importance

of the Clause for preventing intrusion by [the] Executive and Judiciary into the legislative

sphere.”). As the Court has instructed, the Clause must be broadly construed and applied

because that was “the conscious choice of the Framers buttressed and justified by history.” Id.

(quotation marks omitted).

       Eastland emphasized that Speech or Debate Clause immunity is “absolute” and covers all

actions “within the sphere of legitimate legislative activity.” 421 U.S. at 501 (quotation marks

omitted). As the Supreme Court stressed, “[w]ithout exception, our cases have read the Speech

or Debate Clause broadly to effectuate its purposes.” Id.; Gravel, 408 U.S. at 617-18 (rejecting a

“cramped construction” of the Speech or Debate Clause and explaining that it applies to “things

generally done in a session of the House by one of its members in relation to the business before



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         Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 9 of 16



it” (quoting Kilbourn v. Thompson, 103 U.S. 168, 204 (1880)). The Clause’s immunity protects

legislators “not only from the consequences of litigation’s results but also from the burden of

defending themselves.” Eastland, 421 U.S. at 503 (quotation marks omitted). As the Supreme

Court has explained, “a private civil action, whether for an injunction or damages, creates a

distraction and forces Members to divert their time, energy, and attention from their legislative

tasks to defend the litigation.” Id.

       The Supreme Court has rejected the argument that Mr. Trump advances in his complaint,

see Compl. ¶¶ 16-20, 70-72, that he can proceed against the Ways and Means Committee

because (in his erroneous view) the Committee would lack any legitimate legislative purpose if it

decided to proceed under the New York law. See Doe v. McMillan, 412 U.S. 306 (1973). In

McMillan, plaintiffs filed suit against, among others, the Chairman and Members of the House

Committee on the District of Columbia, seeking relief from the publication of information about

their children in a House report on the theory that including “materials describing particular

conduct on the part of identified children was actionable because [it was] unnecessary and

irrelevant to any legislative purpose.” Id. at 312. The Supreme Court rejected that argument,

explaining that “[c]ases in this Court … from Kilbourn to Gravel pretermit the imposition of

liability on any such theory.” Id.

       To the contrary, “Congressmen and their aides are immune from liability for their actions

within the legislative sphere, even though their conduct, if performed in other than legislative

contexts, would in itself be unconstitutional or otherwise contrary to criminal or civil statutes.”

McMillan, 412 U.S. at 312-13 (quotation marks omitted); see Rangel v. Boehner, 785 F.3d 19, 24

(D.C. Cir. 2015) (explaining that Congressional action does not lose its legislative character

because it is alleged to be “illegal”—an argument that “has been rejected time and again”). The



                                                  5
        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 10 of 16



Supreme Court in McMillan emphasized that “[a]lthough we might disagree with the Committee

as to whether it was necessary, or even remotely useful, to include the names of individual

children in the evidence submitted to the Committee and in the Committee Report, we have no

authority to oversee the judgment of the Committee in this respect or to impose liability on its

Members if we disagree with their legislative judgment.” 412 U.S. at 313. This Court must

similarly reject Mr. Trump’s invitation to oversee the Ways and Means Committee’s judgment

here.

        Moreover, the Speech or Debate Clause is not abrogated by allegations that the

Committee acted unlawfully or with an unworthy purpose. The Speech or Debate Clause bars

any “‘inquiry into … the motivation for [legislative] acts.’” Helstoski, 442 U.S. at 489 (quoting

United States v. Brewster, 408 U.S. 501, 525 (1972)); see also Eastland, 421 U.S. at 508-09

(“[I]n determining the legitimacy of a congressional act we do not look to the motives alleged to

have prompted it.”). The Supreme Court has emphasized that an allegation of improper

motivation, such as that raised by Mr. Trump in his complaint, “is precisely what the Speech or

Debate Clause generally forecloses from executive and judicial inquiry.” United States v.

Johnson, 383 U.S. 169, 180 (1966). Nor does an act “lose its legislative character simply

because a plaintiff alleges that it violated the House Rules, or even the Constitution. Such is the

nature of absolute immunity, which is—in a word—absolute.” Rangel, 785 F.3d at 24 (citing

Kilbourn, 103 U.S. at 203, and McMillan, 412 U.S. at 312-13).

        In addition, Eastland distinguished Speech or Debate decisions that involved criminal

contempt because “those cases did not involve attempts by private parties to impede

congressional action where the Speech or Debate Clause was raised by Congress by way of

defense.” Id. at 509 n.16. As the Court made clear, although it may be appropriate in criminal



                                                 6
        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 11 of 16



contempt cases to “balanc[e] First Amendment rights against public interests,” in cases like this

one, which involve an “attempt to interfere with an ongoing activity by Congress, and that

activity is found to be within the legitimate legislative sphere, balancing plays no part.” Id.

(emphasis added) (quotation marks omitted).

       The Committee’s decision whether to take any action under the New York law at some

point in the future is absolutely protected by the Clause. See Compl. ¶ 7 (“Chairman Neal could

decide to request the President’s state returns” (emphasis added)). As discussed, Eastland

establishes that a Congressional subpoena is a legislative act for which the Clause “provides

complete immunity.” 421 U.S. at 507. Less formal Congressional information gathering is also

protected, as the D.C. Circuit has held. See McSurely v. McClellan, 553 F.2d 1277, 1287 (D.C.

Cir. 1976) (en banc) (“[A]cquisition of knowledge through informal sources is a necessary

concomitant of legislative conduct and thus should be within the ambit of the [Speech or Debate]

privilege so that congressmen are able to discharge their constitutional duties properly.”

(quotation marks omitted)).4 And in McMillan, the Court held that the act of “authorizing an

investigation pursuant to which … materials were gathered” is entitled to the broad protections

of the Clause. 412 U.S. at 313; see also MINPECO, S.A. v. Conticommodity Servs., Inc., 844

F.2d 856, 860 (D.C. Cir. 1988) (“Thus, the process by which a committee takes statements and




       4
          See, e.g., Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 411-12, 423
(D.C. Cir. 1995) (documents voluntarily delivered to committee by private citizen protected);
Miller v. Transamerican Press, Inc., 709 F.2d 524, 530 (9th Cir. 1983) (“Obtaining information
pertinent to potential legislation or investigation is one of the ‘things generally done in a session
of the House,’ concerning matters within the ‘legitimate legislative sphere.’” (citations omitted));
Jewish War Veterans v. Gates, 506 F. Supp. 2d 30, 54 (D.D.C. 2007) (“under the law of this and
other circuits, informal information gathering in connection with or in aid of a legitimate
legislative act is itself protected by the Speech or Debate Clause”).

                                                 7
        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 12 of 16



prepares them for publication clearly qualifies as an activity within the legislative sphere.”

(quotation marks and citation omitted)).

       There can be no reasonable dispute that if the issuance of a subpoena, informal

information gathering, authorization of an investigation, and other investigative acts fall within

the legislative sphere, then the Ways and Means Committee’s decision whether and how to

proceed under the New York law to fulfill its oversight and investigative functions is itself

legislative activity immune from challenge. Consistent with the Supreme Court’s broad

interpretation of Speech or Debate Clause immunity, courts have declined to second-guess

whether legislative activity is “in fact” legislative. See United States v. Biaggi, 853 F.2d 89, 103

(2d Cir. 1988) (explaining generally “that the Speech or Debate Clause forbids not only inquiry

into acts that are manifestly legislative but also inquiry into acts that are purportedly legislative,

‘even to determine if they are legislative in fact’” (citation omitted)).

       For similar reasons, there is no legitimate basis for this Court to impose on the Ways and

Means Committee a requirement that is not contained in the New York law or impose a judicial

monitoring requirement for the Committee’s decisionmaking where none exists. Requiring the

Committee “to notify the Court if its Chairman intends to request the President’s” tax

information as Mr. Trump requests (ECF No. 6-1, at 6 (Application)), would interfere with

protected legislative activity and effectively grant Mr. Trump an extra-constitutional veto over

the Committee’s core legislative and investigative decisions.

       2. The fact that Mr. Trump seeks relief under the All Writs Act does not alter the Ways

and Means Committee’s immunity from suit under the Speech or Debate Clause. The All Writs

Act authorizes federal courts to issues writs “in aid of their respective jurisdictions.” 28 U.S.C.




                                                   8
        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 13 of 16



§ 1651. Where, as here, the Court lacks jurisdiction to grant relief, there is no jurisdiction to aid

and section 1651 does not apply.

       As discussed above, the Supreme Court’s interpretation of the Speech or Debate Clause

precludes this Court from enjoining the Committee in the exercise of its legislative function—

i.e., deciding whether and how to seek Mr. Trump’s tax returns under the New York law to

advance its legislative, oversight, and investigatory functions. Mr. Trump principally relies

(Application at 1, 4, 5) on Astrazeneca Pharmaceuticals LP v. Burwell, 197 F. Supp. 3d 53, 56

(D.D.C. 2016) to argue that this Court should nevertheless grant emergency injunctive relief “to

preserve the availability of meaningful judicial review.” But as this court emphasized in

Astrazeneca, “[i]f the court may eventually have jurisdiction of the substantive claim,” the All

Writs Act authorizes the court “to impose a temporary restraint in order to preserve the status

quo pending ripening of the claim for judicial review.” Id. (emphasis added) (quoting Wagner v.

Taylor, 836 F.2d 566, 571 (D.C. Cir. 1987)). Unlike Astrazeneca, this Court will never “have

jurisdiction of the substantive claim” against the Committee, and the writ therefore cannot be

“necessary or appropriate in aid of [the court’s] respective jurisdiction[].” 28 U.S.C. § 1651.

       Applying these principles, courts have held that section 1651 does not authorize relief

where the court has no jurisdiction to protect—for example, where a plaintiff in federal court

seeks to compel action by state or local officials. See, e.g., In re Brown, 692 F. App’x 89, 91 (3d

Cir. 2017) (holding that court lacked authority under section 1651 to “compel[] ‘action’ by city

officials”); Ogunwomoju v. United States, 512 F.3d 69, 75 (2d Cir. 2008) (explaining that

“federal courts lack jurisdiction” to grant writ of error coram nobis under section 1651(a) “with

respect to state court judgments”); White v. Ward, 145 F.3d 1139, 1140 (10th Cir. 1998) (per

curiam) (affirming denial of writ of mandamus under section 1651 and explaining that federal



                                                  9
        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 14 of 16



courts “lack[] jurisdiction to direct a state court to perform its duty”). This same reasoning

applies to Mr. Trump’s request that this Court enjoin the Committee in its legislative

decisionmaking. This Court cannot construe the All Writs Act to evade the Committee’s Speech

or Debate Clause immunity.

       In short, section 1651 does not authorize issuance of the writ here because this Court has

no “jurisdiction over the instant case, past, present, or future, which mandamus could ‘aid.’” In

re Stone, 569 F.2d 156, 157 (D.C. Cir. 1978) (holding that the court lacked jurisdiction under

section 1651 to issue a writ of mandamus to the Tax Court); see also In re Tennant, 359 F.3d

523, 531 (D.C. Cir. 2004) (explaining that the court “lack[ed] jurisdiction over [the petitioner’s]

claims for injunctive relief under the All Writs Act” where petitioner had not invoked the

agency’s jurisdiction and the court had “no future appellate jurisdiction that a writ of mandamus

could protect”).

                                         CONCLUSION

       For all the reasons discussed, Mr. Trump’s motion for emergency equitable relief must be

denied and the Ways and Means Committee must be dismissed with prejudice.


                                              Respectfully submitted,

                                              /s/ Douglas N. Letter
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                                                 10
        Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 15 of 16



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July 25, 2019




       *
          Attorneys for the Office of General Counsel for the U.S. House of Representatives are
“entitled, for the purpose of performing the counsel’s functions, to enter an appearance in any
proceeding before any court of the United States or of any State or political subdivision thereof
without compliance with any requirements for admission to practice before such court.” 2
U.S.C. § 5571. The Office of General Counsel wishes to acknowledge the assistance of law
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Harry Raffel, a student at the University of Michigan, in preparing this response.

                                                11
       Case 1:19-cv-02173-TNM Document 14 Filed 07/25/19 Page 16 of 16



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 25, 2019, I caused the foregoing document to be filed via this

Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                     /s/ Douglas N. Letter
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